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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-886V



 JUAN CARLOS LOPEZ,                                          Chief Special Master Corcoran

                         Petitioner,                         Filed: June 14, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Alison Haskins, Siri & Glimstad, LLP, Aventura, FL, for Petitioner.

Neil Bhargava, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION 1

        On August 10, 2022, Juan Carlos Lopez filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”), a Table injury, resulting from an influenza (“flu”) vaccine he
received on October 19, 2020. Pet., ECF No. 1. Petitioner further alleges that the vaccine
was administered in the United States, he experienced the residual effects of his condition
for more than six months, and there has been no prior award or settlement of a civil action
for damages on Petitioner’s behalf as a result of his condition. Id. Respondent denies
“that [P]etitioner sustained a SIRVA Table injury; denies that the vaccine caused
[P]etitioner’s alleged shoulder injury, or any other injury; and denies that [P]etitioner’s
current condition is a sequela of a vaccine-related injury.” Stipulation at 2, ECF No. 39.



1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Nevertheless, on June 14, 2024, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached stipulation, I award the following
compensation:

        A lump sum of $15,209.94 in the form of a check payable to Petitioner.
        Stipulation at 2. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this Decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 JUAN CARLOS LOPEZ,

                 Petitioner,                              No. 22-886V
                                                          Chief Special Master Corcoran
 V.                                                       ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


                                          STIPULATION

        The parties hereby stipulate to the following matters:

        I. Juan Carlos Lopez ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to p~titioner's receipt

of an influenza (''flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3(a)

       2. Petitioner received a flu vaccine on October 19, 2020.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that petitioner suffered a Shoulder Injury related to Vaccine

Administration (''SIRVA") within the time period set forth in the Table. Petitioner further

alleges that petitioner suffered the residual effects of the alleged injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on petitioner's behalf as a result of the alleged injury.
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        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged shoulder injury, or any other injury; and denies that

petitioner's current condition is a sequela of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)( I), the Secretary of Health and Human Services will issue

the following vaccine compensation payment for all damages that would be available under 42

U.S.C. § 300aa-15(a):

        A lump sum of$15,209.94 in the form of a check payable to petitioner.

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U .S.C. § 300aa-2 l (a)(l ), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and petitioner's attorney represent that compensation to be provided

pursuant to this Stipulation is not for any items or services for which the Program is not

primarily liable under 42 U.S.C. § 300aa-l 5(g), to the extent that payment has been made or can

reasonably be expected to be made under any State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.




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        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13 . In return for the payments described in paragraphs 8 and 9, petitioner, in petitioner's

individual capacity, and on behalf of petitioner's heirs, executors, administrators, successors or

assigns, does forever inevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the tlu vaccination administered on

October 19, 2020, as alleged in a petition for vaccine compensation filed on or about August 10,

2022, in the United States Court of Federal Claims as petition No. 22-886V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the tenns

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury or

any other injury or petitioner's current disabilities or that petitioner suffered an injury contained

in the Vaccine Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION




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Respectfully submitted,

PETITIONER:



JUAN CARLOS LOPEZ



ATTORNEY OF RECORD FOR                              AUTHORIZED REPRESENTATIVE
PETIT ONER:                                         OF THE ATTORNEY GENERAL:




       GLIMSTAD LLP
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AND HUMAN SERVICES:
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Dated: - - - - -- - --




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